
959 A.2d 900 (2008)
Emily D. BOWMASTER, An Incapacitate Person, By and Through Donna BOWMASTER and James R. Bowmaster, Jr., Court-Appointed Guardians of the Estate and Person of Emily D. Bowmaster
v.
Gerald CLAIR and Centre Community Hospital, A Corporation.
Petition of Commonwealth of Pennsylvania, Department of Public Welfare.
No. 970 MAL 2007
Supreme Court of Pennsylvania.
October 15, 2008.

ORDER
PER CURIAM.
AND NOW, this 15th day of October, 2008, the Petition for Allowance of Appeal is hereby GRANTED. The issues, as stated by Petitioner are:
a. Where a minor child's estate may be legally liable to pay medical expenses resulting from an injury, can the child sue the tortfeasor for reimbursement of those medical expenses?
b. Did the Pennsylvania Legislature intend to permit a minor receiving medical assistance to sue a tortfeasor for medical expenses when it enacted 62 P.S. § 1409(b)?
c. Is a minor child a "beneficiary" of medical assistance as defined in 62 P.S. § 1409(b)(13)?
